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                                 EXHIBIT K
                                   Footnote 18
  The Richie Allen Show: “Oxford Scientist: ‘It’s Illogical and Unethical to Force
                             Jab on NHS Staff’”
3/1/22, 3:04 PM                         Case 2:22-cv-00149-DAK-DBP        Document
                                                             Oxford Scientist "It's Illogical &2-12
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                                                                                                                              Staff" | RichieAllen.co.uk

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                                                                                                                                                       Allen Show
                                                                                                                                                       Tuesday March
                                                                                                                                                       1st 2022
                                                                                                                                                       The Richie Allen Show Tuesday


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                      Oxford Scientist “It’s Illogical & Unethical To Force Jab On NHS Staff”                                                                           Listen LIVE!
                                      Richie Allen(https://richieallen.co.uk/members/richie-allen/)                                                      (http://108.163.223.242:8102/stre
                                                                                                                                                                        type=.mp3)
                                September 9, 2021(https://richieallen.co.uk/2021/09/09/)                  8:28 am
             18                    (https://richieallen.co.uk/oxford-scientist-its-illogical-unethical-to-force-jab-on-nhs-
                                                                                                                                                    Support
        Comments                                                         staff/#comments)

  Speaking to SKY News this morning, Professor Sunetra Gupta, a theoretical epidemiologist at Oxford University,                                          Support the show!
  said that it is illogical and unethical to “foist a vaccine upon people in the hope that you can reduce transmission of
  a disease.”

  Speaking about the functionality of the jabs, Professor Gupta told Kay Burley:
                                                                                                                                                        The Richie Allen Show relies on
  “They were never meant to be used to stop transmission or to allow people in particular settings to make them risk                                  the support of the listeners. Click
  free. So it is really not logical to use vaccines to protect other people. The vaccine protects you, which if you are                                    the button to learn more.
  vulnerable is a very valuable thing.”
                                                                                                                                                                     Click Here
  Burley interrupted and asked Gupta to clarify that she does not believe that NHS staff should not be forced to have
  the jab. Professor Gupta replied:
                                                                                                                                                     Video
  “I don’t think they should be forced to on the understanding simply because this vaccine does not prevent
  transmission. So if you just think of the logic of it, what is the point of requiring a vaccine to protect others if that
  vaccine does not durably prevent onward transmission of a virus?

  Obviously there are all sorts of ethical and political issues surrounding this. It’s illogical to foist a vaccine upon people
  in the hope that you can reduce transmission of a disease.”

  Burley asked her for her thoughts on jabbing 12 year-olds. Sunetra Gupta pulled no punches saying:

  “I absolutely do not think that is logical at any level I mean leave alone the ethics of using 12 year-olds as barriers for
  infection for the community. The bottom line is that these vaccines do not prevent transmission.

  In the case of the 12 year-old it benefits neither the individual who is not at risk of severe disease and death, nor does
  it benefit the community. To ask children to bear that risk is for me, simply unacceptable.”




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                            Richie Allen
                                Richie Allen is the host of The Richie Allen Radio show, Europe's most listened to
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                                independent radio show and is a passionate supporter of free speech. He lives in Salford

                                with the future Mrs Allen and their two dogs.

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           illogical-unethical-to-force-jab-on-nhs-staff%2F)


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          ArionRayhan (https://richieallen.co.uk/members/arionrayhan/)
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          time… Only basic internet knowledge needed and fast internet connection… Earn as much as $3000 a week…Get
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          While I cannot guarantee what you might get offered if you’re successful with them, my research suggests
          around $30 USD per hour for those based in Asia/India, and around $30-40 USD per hour for those based in
          Europe and UK / US / Australia / New Zealand. I work through this link, go? to tech tab for work detail

          Here–> http://Www.WorkApp8.com (http://www.workapp8.com/)

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           Last edited 5 months ago by tqrzvnk


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                     (https://richieallen.co.uk/members/marukee/)                Jacob (https://richieallen.co.uk/members/marukee/)
                                                                                  5 months ago


          Depopulation: Globalists See Humanity as “Cannon Fodder”
          “It would take too long … to educate the cannon fodder,,, that populates the earth.”
          (David Lang, a Montreal International Banker).

          Mankind has a terminal disease, blood poisoning. “Money” is the blood supply of society. Our feckless ancestors
          gave control of money to Satanists who use it to enslave and destroy us. This is the key to understanding our
          current crisis.

          https://www.henrymakow.com/2021/09/globalists-cannon-fodder.html
          (https://www.henrymakow.com/2021/09/globalists-cannon-fodder.html)

          Report                                                                                                                                                                    18




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           content/uploads/2021/09/estrong-depop-1631303505.875.jpg)


               1




                        Hermione Granger
                         5 months ago


          The wheels are now falling off this covid hoax front and back
          At least in the UK we have definitely WON

          Report


           Last edited 5 months ago by Hermione Granger


               1




                     (https://richieallen.co.uk/members/murmur70/)                 jayjay (https://richieallen.co.uk/members/murmur70/)
                                                                                    5 months ago




          Fan fucking tastic, . This insanity has to stop, FFS.

          Report

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                     (https://richieallen.co.uk/members/jupiter/)             Jennifer (https://richieallen.co.uk/members/jupiter/)
                                                                               5 months ago


          Please watch this short delivery. 6 minutes. The warning signs are here. Please respond.
          https://www.facebook.com/TomHughesEndTimes/videos/393027405742658
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                     (https://richieallen.co.uk/members/marukee/)                Jacob (https://richieallen.co.uk/members/marukee/)
                                                                                  5 months ago

          ‘This Week’ With Mary + Polly: COVID Vaccines ‘Clearly Being Used on Children Under 12’ + More
          In “This Week” with Mary Holland, Children’s Health Defense president, and Polly Tommey, co-producer of
          “Vaxxed,” Mary and Polly discuss the latest COVID vaccine news.
          https://childrenshealthdefense.org/defender/mary-polly-covid-vaccines-children-under-12/?itm_term=home
          (https://childrenshealthdefense.org/defender/mary-polly-covid-vaccines-children-under-12/?itm_term=home)

          Report

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                     (https://richieallen.co.uk/members/theurbanfox/)

          Urban fox (https://richieallen.co.uk/members/theurbanfox/)
           5 months ago
                                                                                                                                                                      18
          The Government Thinks Your Child’s Life is Worth £10 | Dr Vernon Coleman
          (https://vernoncoleman.org/videos/government-thinks-your-childs-life-worth-ps10)

          About a week ago, an NHS document was sent to David Ike and The Daily Expose, where it was stated that Drs
          should be given an extra £10 for each covid jab when given to a child. Since then others have confirmed this. This
          means a total of £22.58 given as a blood money incentive for every abused child, to these ” Healing angels” and ”


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          protectors of our health”. A regular flue jab is approximately £9. ” First do no harm”, was once what Drs swore.
          Now its a case of , ” First do no harm, unless its very profitable”. Bear in mind, that some Drs surgery’s have 30
          thousand registered patients, many of which of course are children.

          Dr Vernon Coleman talks about child vaccinations in his latest video on the link at the top of this post.

          Report

               10



                                (https://richieallen.co.uk/members/theurbanfox/)

                     Urban fox (https://richieallen.co.uk/members/theurbanfox/)
                      Reply to Urban fox  5 months ago

                     Update. The average number of patients per Dr in England is at least 2000. All money from vaccinations
                     usually go’s to the GP, even though it is normal practice that they have a nurse administer the vaccine. So if
                     everyone they have registered were to have the covid jab, that it a bonus of £50,000, without taking into
                     account the child increase been asked for. If they were to be all double jabbed. Multiply this by all the jabs that
                     are planned in the months and years ahead. This all on top of the Drs regular wage. They are basically being
                     paid high bonuses to push drugs. We can see now, why they love to vaccinate.

                     Report

                          8



                                           Hermione Granger
                                            Reply to Urban fox  5 months ago

                              Totally scandalous and it will bring massive fallout on their heads and careers

                              Report

                                  2




                     (https://richieallen.co.uk/members/theurbanfox/)

          Urban fox (https://richieallen.co.uk/members/theurbanfox/)
           5 months ago


          Whilst its great that Professor Gupta, says jabs don’t prevent transmission. Also that she says for this reason NHS
          staff should not be forced to have one, and children should not be jabbed.

          Its not so great, that she is still peddling the myth that there is anything to transmit. This is simply not true in the
          case of a computer generated virus. Also outrageously saying.

          “The vaccine protects you, which if you are vulnerable is a very valuable thing.”

          Really? Life is a valuable thing, life more at risk from this fake vaccine than from flue.

          I would say to anyone ,even if they believe the official narrative of lies. The reporting systems of the yellow card
          and particularly vares in the States which is clearer and more detailed to read, Cleary show, that the risk from
          Billy’s Blood clot jab, far outweigh any potential benefits for any age group, man, woman, child, pig, goat or
          garden frog. When that risk is compared to the chance of death from covid.

          Many thousands have had life altering injuries or lost there lives as a result of these jabs. And there is a general
          consensus world wide that these numbers of victims have to be multiplied by at least 10. As injury’s and deaths
          from vaccines and other medical procedures, are often unreported or wrongly recorded.

          If one is medically vulnerable, I would suggest to the Professor. That the last thing they should be doing, is
          subjecting themselves to this dangerous medical procedure. As they have even more chance of being killed by
          this injection than the otherwise healthy. But of course getting rid of those deemed to be of less use or
          undesirable first, is what they want. As we have seen with Midazolam and at another time in history.

          Report

               8



                                                                                         Craig (https://richieallen.co.uk/members/topper/)
                                (https://richieallen.co.uk/members/topper/)                                                                                           18
                                                                                          Reply to Urban fox  5 months ago



                     She’s just playing the required game. If she doesn’t do that, she’ll get no where near the MSM.
                     You know as well as I do that there is strong evidence to suggest that virus theory is a myth; but if you try
                     getting that message across to 99.9% of people they are going to look at you like you’ve lost your marbles, no
                     matter how much evidence you show them.

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                     The vast, vast majority of people believe wholeheartedly that there is a life threatening virus in circulation. If
                     Gupta (or anyone else, regardless of their qualifications) tries to contradict that, they will be laughed out of
                     town.

                     Recognise the battles you can win, and the ones you can’t and work with what’s available.

                     Report

                          14




                        Alex Romero
                         5 months ago


          I can see the elderly marooned in hospital this winter as a result of a lack of staff in care homes being given DNR
          notices, being deprived of food and drink, and bumped off with midazolam and opiates. All to be blamed on the
          latest deadly Covid variant of course. Rinse and repeat……

          Report

               22



                                                                                        Mark (https://richieallen.co.uk/members/markrl/)
                                 (https://richieallen.co.uk/members/markrl/)
                                                                                         Reply to Alex Romero  5 months ago



                     Stanley Johnson will become the new social healthcare minister for the British Reich and implement the final
                     solution to this long standing problem.

                     Report

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                                          (https://richieallen.co.uk/members/topper/)

                               Craig (https://richieallen.co.uk/members/topper/)
                                Reply to Mark  5 months ago

                               Why would he do that? The most dangerous people are not the ones we can see, but the ones we can’t.

                               Report

                                   4




                                                   (https://richieallen.co.uk/members/markrl/)

                                        Mark (https://richieallen.co.uk/members/markrl/)
                                         Reply to Craig  5 months ago

                                        It’s not about being dangerous it’s about being expensive. Follow the money.

                                        Report

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                                                          (https://richieallen.co.uk/members/topper/)

                                                 Craig (https://richieallen.co.uk/members/topper/)
                                                  Reply to Mark  5 months ago

                                                 The two are not mutually exclusive. Someone like Gates is expensive and dangerous. But he
                                                 is a known danger.

                                                 Report

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                                                          (https://richieallen.co.uk/members/markrl/)

                                                 Mark (https://richieallen.co.uk/members/markrl/)
                                                                                                                                                                         18
                                                  Reply to Craig  5 months ago

                                                 They want shot of the unproductive elderly and the disabled many of whom require
                                                 expensive medical care and have unaffordable pension entitlements. Like obsolete
                                                 machinery they need to be scraped. These people are not dangerous just expensive.

                                                 Report

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